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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  LAKE CHARLES DIVISION


 UNITED STATES OF AMERICA                             :       DOCKET NO. 13-cr-00298-02

 VS.                                                  :       JUDGE MINALDI

 AHMAD ALNAASAN                                       :       MAGISTRATE JUDGE KAY


                 REPORT AND RECOMMENDATION ON FELONY
            GUILTY PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge on May 21, 2015, at which

 time the defendant expressed a desire to waive his right to plead guilty before a District Judge and

 enter into a plea before the U. S. Magistrate Judge. Defendant indicated on the record his desire

 to consent to proceed before the undersigned and executed a waiver. Defendant was at all times

 represented by counsel, Glen Vamvoras.

        After said hearing and for reasons orally assigned, it is the finding of the undersigned that

 the defendant is fully competent, that his plea of guilty is knowing and voluntary, that his guilty

 plea to Count One of the Indictment is fully supported by the written factual basis acknowledged

 by defendant orally in court and by his signature on the written document. This factual basis

 supports each essential element of the offense to which the defendant pled.
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        Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

 ACCEPT the guilty plea of the defendant, Ahmad Alnaasan, and that, Ahmad Alnaasan be finally

 adjudged guilty of the offense charged in Count One of the Indictment.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and FED. R. CIV. P. RULE 72(b), the

 parties have fourteen (14) days from service of this Report and Recommendation to file specific,

 written objections with the Clerk of Court. A party may respond to another party’s objections

 within fourteen (14) days after being served with a copy thereof. A courtesy copy of any objection

 or response or request for extension of time shall be furnished to the District Judge at the time of

 filing. Timely objections will be considered by the District Judge before she makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS, AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE SHALL

 BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR, FROM

 ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL FINDINGS

 AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE this 21st day of May, 2015.
